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            Deposition of Peter Koconis - September 21, 2015


 1             IN THE UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF ILLINOIS
 3                           EASTERN DIVISION
 4      SHANNON SPALDING AND DANIEL              )
 5      ECHEVERRIA,                              )
 6                    Plaintiffs,                )
 7          v.                                   ) No. 12 cv 8777
 8      CITY OF CHICAGO, et al.,                 )
 9                    Defendants.                )
10
11               The deposition of PETER KOCONIS, called
12   by the Defendants for examination, taken pursuant
13   to notice and pursuant to the Federal Rules of
14   Civil Procedure for the United States District
15   Courts pertaining to the taking of depositions,
16   taken before Loretta A. Tyska, Certified
17   Shorthand Reporter and Registered Professional
18   Reporter, at 191 North Wacker Drive, Suite 3700,
19   Chicago, Illinois, commencing at 1:30 p.m. on
20   21st day of September, 2015.
21
22
23

24


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 1   APPEARANCES:
 2      CHRISTOPHER SMITH TRIAL GROUP
 3      MR. CHRISTOPHER SMITH
 4      1 North LaSalle Street, Suite 2000
 5      Chicago, Illinois 60602
 6      (312) 432-0400
 7      Chris@lawsja.com
 8             On behalf of the Plaintiffs;
 9
10      DRINKER BIDDLE
11      MS. LESLIE D. DAVIS
12      191 North Wacker Drive, Suite 3700
13      Chicago, Illinois 60606
14      (312) 569-1108
15      leslie.davis@dbr.com
16             On behalf of the Defendants.
17
18
19
20
21                         *    *     *    *     *     *
22
23

24


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 1                                I N D E X
 2   PETER KOCONIS                                                   PAGE
 3     Direct Examination by Ms. Davis                                   4
 4
 5                           E X H I B I T S
 6   NO.                                                             PAGE
 7     Koconis Exhibit 1                                                59
 8
 9
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            Deposition of Peter Koconis - September 21, 2015


 1                                  (Witness sworn.)
 2          MS. DAVIS:       Let the record reflect that this
 3   is the discovery deposition of Peter Koconis
 4   taken pursuant to notice and agreement of the
 5   parties, pursuant to all the applicable rules,
 6   Federal Rules of Civil Procedure, and the Federal
 7   Rules of Evidence.
 8                             PETER KOCONIS,
 9   a witness, having been first administered an
10   oath, was examined and testified as follows:
11                         DIRECT EXAMINATION
12   BY MS. DAVIS:
13          Q        Will you state your name for the
14   record.
15          A        Peter Koconis.
16          Q        Mr. Koconis, I know you've taken a
17   deposition before.
18          A        Yes, just a couple hours ago.
19          Q        Exactly.      But let me just give you my
20   real quick ground rules.             Please don't speak when
21   I'm speaking.         I will try to let you finish your
22   answer before I ask you another question.                    If at
23   any point you don't understand my question, then

24   let me know.        I will repeat it or rephrase it.


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 1   If you answer the question, I will assume you
 2   understood the question.             Do you understand?
 3          A        Yes, ma'am.
 4          Q        Anytime you need a break, let me know.
 5   This is not meant to be torture.                If you need to
 6   take a break, let me know.              We can do that.         Just
 7   please don't ask for a break while a question is
 8   pending.       After you've fully answered a question,
 9   feel free to take a break at any time after that.
10          A        Yes, ma'am.
11          Q        And all your responses have to be
12   verbal; yes, no.          She can't take down shakes of
13   the head or shrugs of the shoulders.                  Even though
14   we all do that from time to time, make sure we
15   have verbal responses.            Okay?
16          A        Yes.
17          Q        Can I get your brief background?                Can
18   I get your address?
19          A        1423 West Glen Lake, Chicago,
20   Illinois, 60660.
21          Q        And how long have you lived there?
22          A        On and off 60 years.
23          Q        I wouldn't have even thought you were

24   60 years old.


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            Deposition of Peter Koconis - September 21, 2015


 1          A        I'm 69.
 2          Q        I guess I should say, "Off the
 3   record," but on the record, you look good for
 4   69 years old.
 5          A        Yes.
 6          Q        Who do you live there with?
 7          A        My wife and my dog.           In that order,
 8   usually.
 9          Q        Are you currently employed?
10          A        No.
11          Q        Who was your last employer?
12          A        Somebody who paid me to do work?
13          Q        Yes.
14          A        Touch Vision.
15          Q        And when were you there?
16          A        All of last year.
17          Q        So 2014?
18          A        2014, part of 2015.
19          Q        And what did you do there?
20          A        I was on-air personality that
21   commented on police policy and procedures.
22          Q        Then prior to Touch Vision, where did
23   you work prior to that?

24          A        Chicago Police Department for


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            Deposition of Peter Koconis - September 21, 2015


 1   38 years.
 2          Q        When did you start at the Chicago
 3   Police Department?
 4          A        October 25, 1971.
 5          Q        And can you briefly tell me in your
 6   time at the CPD what division you were in?
 7          A        I started in the patrol division; then
 8   I went to major accident investigation section;
 9   then I was assigned to the Illinois Attorney
10   General's office as a department chief of
11   investigations; then I came back to the police
12   department and went to the Internal Affairs
13   division.
14          Q        Around what year did you go to IAD?
15          A        Mid eighties.        Then while there, I was
16   promoted to agent, which is a detective.                    Then I
17   was promoted to sergeant.
18          Q        Do you remember approximately when you
19   were promoted to sergeant?
20          A        1999.     Then I went to the Chicago
21   Housing Authority transition team where we
22   decertified the Chicago Housing Authority Police
23   Department because of corruption and brought in

24   the Chicago Police Department.                And then I stayed


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            Deposition of Peter Koconis - September 21, 2015


 1   in IAD until roughly 2004, 2005; left there and
 2   went back to patrol and worked gangs and
 3   tactical.
 4          Q        So in approximately 2005, you went
 5   back again to tactical?
 6          A        In the 24th Police District.
 7          Q        And did you stayed there until --
 8          A        Well, I retired.         And then Jody Weis
 9   asked to meet me for lunch.              And then he asked me
10   to unretire and come back to work as a special
11   assistant to his office, and I did.                  And I only
12   lasted 27 days because we -- I just -- I wanted
13   to be retired.         I didn't want to work.
14          Q        Understood.       And that last time when
15   you came back in for those 27 days, that would
16   have been approximately when, what year?
17          A        2009.     He convinced me that I should
18   come back.       My only job there was to get the feel
19   of the police on the street and why there was
20   this adverse reaction to him.               And he basically
21   was a good man.         And he just came on too strong.
22   And there was no need for me to stay there.                     And
23   it was summertime and I wanted to play golf and I

24   just said, "Thank you very much; I'm too old.                      I


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            Deposition of Peter Koconis - September 21, 2015


 1   want to quit."
 2          Q        And between 2009 and when you were
 3   working at Touch Vision in 2014, were you
 4   employed anywhere?
 5          A        No.
 6          Q        You were just enjoying retirement?
 7          A        Yes, I was.
 8          Q        Can you tell me approximately how many
 9   times you've been deposed in the past?
10          A        I don't know.        I really don't.
11          Q        Would you say it was more than ten?
12          A        Oh, yeah.
13          Q        Would you say it was more than 20?
14          A        Yes.
15          Q        More than 30?
16          A        In all my case?         Oh, my gosh.
17   Probably.       I would say probably.
18          Q        Do you think it's more than 50?
19          A        No.
20          Q        So somewhere between 30 and 50?
21          A        Right.
22          Q        And in those times, have you always
23   been on one side or the other -- Let me strike

24   that.


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            Deposition of Peter Koconis - September 21, 2015


 1                  When you've been deposed, have you
 2   been the plaintiff in any of those cases?
 3          A       What do you mean?
 4          Q       Let me go back.         In what capacity have
 5   you had your deposition taken; were you a witness
 6   or an expert?
 7          A       Right.      I was an expert in some.            And
 8   I was in accident reconstruction and reckless
 9   homicides.       I was accepted as an expert witness.
10   Then in a mediation I was accepted as an expert
11   witness in IAD procedures.             And one time I had
12   been -- I was an expert for the police
13   department, and another time I was an expert
14   against the police department in an
15   investigation.
16          Q       Can you tell me --
17          A       Does that make sense?
18          Q       Yeah, it does.         I just want to kind of
19   get a little bit more understanding.                 Can you
20   tell me approximately how many times you've
21   testified against the police department?
22          A       Once.
23          Q       And what was the nature of that case?

24          A       A man was promoted to captain, and


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            Deposition of Peter Koconis - September 21, 2015


 1   they -- he was found to be in an illegal
 2   establishment that was selling liquor.                  They
 3   tried to -- he was an African-American.                   They
 4   tried to demote him.           So his law firm called me
 5   to review the internal affairs file to its
 6   accuracy and its proper conclusion.                 And I did,
 7   and I disagreed with their findings, and the man
 8   eventually was restored to his rank.
 9          Q       And so in all the other cases that you
10   have -- I'm sorry?
11          A       The law firm was "Coosis".              Is that
12   his name?      Yeah.     That was who represented the
13   captain.      He was the lieutenant captain union
14   lawyer or something.
15          Q       And all the other cases where you've
16   been deposed, were you then testifying on behalf
17   of the police department?
18          A       Yes.
19          Q       And in this case what did you do to
20   prepare for this deposition?
21          A       Nothing.       They just told me about it.
22          Q       Did you review any documents?
23          A       No.     He was going to send them to me,

24   but he didn't.


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 1          Q       Have you reviewed anybody else's
 2   deposition transcript?
 3          A       No.
 4          Q       So it's fair for me to say you've
 5   reviewed no emails, no deposition transcripts,
 6   nothing?
 7          A       No.     Yeah, I mean, that's right.
 8   That's right for you to say.
 9          Q       Did you talk to anybody in preparation
10   for this deposition?
11          A       Him to tell me that we were going to
12   be here.      I was told by --
13          Q       Hold on.       Let me make sure of
14   something.       Are you represented by Mr. Smith?
15          A       No.
16          Q       Or by Mr. Taren in this case?
17          A       Who?
18          Q       His partner who is helping with this
19   case?
20          A       No.
21          Q       Okay.     So he's not your lawyer?
22          A       No.     I don't think I need one.            I'm
23   not being sued, am I?

24          Q       So I just want to make sure.               I was


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 1   just going to ask you who you've talked to.
 2          A       Loevy and Loevy's lawyer, this -- I
 3   talked to this Heather.            She had a baby, so then
 4   this Cindy called me.           You guys made appointments
 5   for me to come, and then kept canceling them and
 6   screwing me over.          So then finally they got in
 7   touch with me and said we're going to do your
 8   deposition Monday morning.             I said fine.        Then I
 9   got a message, call me.            I call her.       She says
10   they're going to try to do another one in the
11   afternoon.       So then I go, well, who is who and
12   what's what?        And then they told me.           And then
13   Chris called me and said we're going to do yours.
14   We're going to try to do them both in one day.
15          Q       Okay.     Understood.        So besides the
16   conversation you had with Chris about that, did
17   you have any other conversations with anybody
18   about this upcoming deposition?
19          A       No.
20          Q       Do you know Shannon Spalding?
21          A       I know her, yes.
22          Q       And how do you know Shannon Spalding?
23          A       Oh, boy.       Should I start with the

24   beginning?


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 1          Q       You know what?         I'm going to ask you a
 2   few more background questions before we jump into
 3   Shannon.
 4          A       Okay.
 5          Q       Where did you go to high school?
 6          A       St. George in Evanston.
 7          Q       What year did you graduate?
 8          A       1964.
 9          Q       Did you have any degrees?             Let me go
10   back.      Do you have any degrees or certificates?
11          A       Yeah, from the police department.                 I
12   got a junior college degree.              I have certificates
13   from the police department continuing
14   investigation and continuing education in
15   investigations and interrogation techniques from
16   Northwestern University.             The traffic institute.
17   I did that for -- I went there for a year.                    Then
18   I was detailed to teach accident reconstruction,
19   reckless homicide, vehicular homicide classes to
20   police department members to states attorneys and
21   district attorneys from around the country.                    I
22   lectured at some colleges regarding police
23   policies and procedures, disciplinary process.                       I

24   think that's about it.


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            Deposition of Peter Koconis - September 21, 2015


 1          Q       While you were in the Chicago Police
 2   Department, were you disciplined for any reason?
 3          A       No.
 4          Q       Did you have any CRs against you?
 5          A       Yes.
 6          Q       How many?
 7          A       In my years, probably a half dozen.
 8   And none of them were sustained.
 9          Q       And of the half dozen that you had,
10   what were they for?
11          A       Allegations of -- God, you know what?
12   I honestly -- they were so long ago.                 They were
13   when I was young.          The only one I remember is the
14   last one where I suspended an officer because he
15   was caught perjuring himself in a case.                   And the
16   deputy superintendent in charge of internal
17   affairs wanted me to change my finding that he
18   should be fired to giving him 30 days.                  I refused
19   because the policy of the department is if you as
20   my supervisor disagree with my findings, you do a
21   cover sheet.        In that cover sheet you explain why
22   my findings should not be adhered to and your
23   recommendations and why you made those

24   recommendations.


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 1                  When this deputy superintendent could
 2   not get me to do it because this officer was
 3   politically connected, I refused, and that's when
 4   I went to transfer out of the division because I
 5   wouldn't work for her.            Then she tried to get
 6   me -- to suspend me for two days for not getting
 7   a CR number on somebody.             And I went to -- I
 8   immediately filed a grievance, went to
 9   arbitration, and the arbitrator in the ruling
10   said the officer who made the complaint against
11   me should be the one that should be suspended and
12   that I should be made whole.              So I was exonerated
13   in that.      And I should say in most of those CR
14   numbers I was exonerated, and it wasn't not just
15   not sustained, it was proven I was, in fact,
16   right.
17          Q       And besides that one, do you remember
18   what any of the other ones were about at this
19   point?
20          A       No.     Most of them had to do with
21   arrests.
22          Q       Have you taken any leaves of absence
23   from the department at any time during your

24   career?


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 1          A       Yes.     I took one leave.
 2          Q       And what was that for?
 3          A       That's personal.          Do I have to answer
 4   that?
 5          Q       Let me put it like this:             I'm not
 6   trying to get into the nitty gritty.                 If you say
 7   it's personal, that's fine.              I'm just trying to
 8   get a gist of what it was about.
 9          A       It was regarding the health of my
10   mother and brother.
11          Q       That's good enough.
12          A       My brother is severely handicapped,
13   and I've been taking care of him since I've been
14   22.    My father was murdered, and I got the -- I
15   had to take care of my brother and my mother.                     I
16   had to take a leave of absence, take a job that
17   paid more just for a year until I could get
18   everything settled, and then went back to the
19   police department.
20          Q       Thank you for that.
21                  Do you have any grievances or lawsuits
22   pending with the city right now?
23          A       No.     As a matter of fact, they gave me

24   money back for my tire that was ruined in a


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 1   pothole.      That was the only one.
 2          Q       So you have no cases or arbitrations
 3   or anything like that pending?
 4          A       No.
 5          Q       With the city or anybody else?
 6          A       No.
 7          Q       All right.       Now that I've got all that
 8   preliminary out of the way, let's go back to
 9   Shannon Spalding.          And how do you know Shannon?
10          A       Oh, boy.       A lieutenant on the police
11   department named Karyn Murphy, she's now a
12   captain -- she worked in the Office of the
13   Superintendent.         She and Shannon Spalding were
14   friends.      Shannon Spalding came to her and told
15   her what was going on regarding her involvement
16   in an investigation that involved -- that turned
17   out to involve policemen.
18                  So Shannon had told this lieutenant
19   that her lieutenant wouldn't get a CR number.                     So
20   she went to Murphy.           Murphy then says, "Well, I'm
21   not going to get the CR number."                So both of them
22   technically broke the rules.              So then Murphy
23   says, "These kids have got a problem.                  They need

24   some advice on IAD policy and procedures; would


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 1   you talk to them?"
 2                  And I told her, you know, "You got to
 3   get a CR number.         That's not for me.          I don't do
 4   that.      I'm not working."
 5                  So she understood it, and she gave
 6   Shannon my phone number.             And then Shannon called
 7   me, and I met them.
 8          Q       So approximately when was it that
 9   Shannon called you?
10          A       It's got to be four years ago.
11          Q       I'm not expecting you to remember
12   exact dates; I'm just trying to get years.
13          A       Yeah, three to four years ago.
14          Q       And when she contacted you, did she
15   call you on the phone?
16          A       Yes.
17          Q       And was she on the phone by herself or
18   was anybody else on the phone with her?
19          A       No.     And she says, "I'm a friend of
20   Karyn Murphy's.         We're having problems.            We were
21   doing an investigation, and during the course of
22   the investigation, we've discovered that there
23   were some police officers involved.                 And when we

24   went to report it, nobody would do anything.                     And


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 1   can you help me and tell me what we should do?"
 2          Q       And during that conversation, what did
 3   you tell her?
 4          A       I said, you know, we got to talk, you
 5   know, in person.
 6          Q       So during that conversation you didn't
 7   go into the details of the situation?
 8          A       No.
 9          Q       And then did you eventually meet in
10   person?
11          A       Yes.
12          Q       When did you meet in person?
13          A       A day or two after that phone call we
14   met at a restaurant on 21st or 22nd Street, and I
15   can't remember the name of it.               We've been there
16   a million times.
17          Q       21st or 22nd and what?
18          A       What's the Italian restaurant over
19   there that serves good food?
20          Q       Because I may want to go.
21          A       It's great.        Honestly, I can't
22   remember the name of it, but it has everything:
23   pizza, spaghetti, whatever.

24          Q       So you met at an Italian restaurant?


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 1          A       We met at a restaurant, yes.
 2          Q       Was it just you and her?
 3          A       It was me, Tony -- me -- Wait a
 4   minute.      It was Shannon, Tony, and Danny.
 5          Q       Who is Tony?
 6          A       Tony is Tony Hernandez, Shannon's
 7   boyfriend.
 8          Q       So Shannon, Tony Hernandez her
 9   boyfriend?
10          A       And Danny, who was her partner.
11          Q       Danny Echeverria?
12          A       Yes.
13          Q       And you, obviously?
14          A       Yes.
15          Q       And what was said during that
16   conversation?        Let me go back.         How long did you
17   guys meet?
18          A       Oh, there were a couple hours.
19          Q       And over the course of that couple
20   hours, let me just start first with Shannon.
21   What did Shannon tell you?
22          A       Shannon told me they were working on a
23   federal task force and it involved gangs and

24   drugs.     And during the course of that


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 1   investigation --
 2          MS. DAVIS:       Can we take a pause for a
 3   second?
 4              (A short recess was had.)
 5   BY THE WITNESS:
 6          A       They discovered that there were police
 7   officers that could have been involved in drug
 8   rip-offs and drug sales.             And she mentioned one
 9   of the names, and I recognized the name from
10   being in internal affairs, this guy Watts who was
11   a sergeant.       And he came up long time ago when I
12   was in the CHA transition team in 1999 as a
13   corrupt cop.        He was ripping off drug dealers and
14   selling drugs.         So that piqued my interest.             And
15   then she went on to say what their part was and
16   that they attempted to get a CR number and they
17   couldn't, and the person they went to wouldn't
18   get it.      And eventually she went to Juan Rivera
19   and basically forced his hand to get the
20   complaint.
21                  Now, also involved in this, Tony
22   Hernandez has a separate thing going while in
23   narcotics with his sergeant who falsified

24   department records and payroll and changed time


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 1   and attendance sheets and everything else, so
 2   there were two things going at the time.
 3          Q       And so Shannon told you that, and
 4   what, if anything, did Danny Echeverria say?
 5          A       Well, he didn't say much.
 6          Q       Did he say anything in the course of
 7   the conversation?
 8          A       I mean, yeah.         He said they had an
 9   informant.       They called him Chewbacca.             I mean,
10   he was a guy that was an informant that the feds
11   planted dope and money on so that he could get
12   ripped off.       And he was their informant.              And
13   that's what led to Watts getting caught because
14   Watts stole money from him.              So that was Danny
15   and Shannon, because Tony worked with somebody
16   else.      Danny and Shannon worked together.
17                  And they talked about this -- you
18   know, they were assigned to -- I think it's 543
19   which is detached services where you're lent to
20   another unit, in this case the federal
21   government.       And they were working for an FBI
22   agent, and they had gathered all this
23   documentation and evidence on this case.                   They

24   had set up a drug house where the money would be


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 1   ripped off.       And unfortunately the FBI found that
 2   the agent himself was corrupt and stole some
 3   money, and that hurt the original investigation.
 4   So it was like part of the investigation had to
 5   be put aside because of the corruption of this
 6   FBI agent.       And then it had to go forward from
 7   this certain spot.          And Watts and this guy
 8   Kallatt Mohammed both pled guilty to the home
 9   invasions and the rip-offs and the drugs things
10   and both went to jail.            That's it in a little bit
11   of a nutshell.
12          Q       Understood.        During the course of your
13   conversation, did Tony Hernandez say anything
14   about Shannon and Danny's situation?
15          A       No.
16          Q       He was just talking about his
17   situation?
18          A       Well, he wanted to know what with
19   getting ripped off and the changing of all this
20   stuff what he had to do.
21          Q       And what, if anything, did you advise
22   or tell Shannon and Danny that they should do?
23          A       Well, that they had to get -- they had

24   to get a separate investigation or a CR


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 1   investigation initiated regarding what happened
 2   to them because after this, they were -- from my
 3   understanding, Juan Rivera had let out his -- had
 4   revealed their names to the commander or the
 5   deputy in charge of organized crime and the
 6   commander of narcotics, O'Grady and Roti or
 7   something like that.           O'Grady was one guy; Roti
 8   was another.        Now their names being out there,
 9   their identity has been compromised.                 Which every
10   undercover investigation that I did when I was in
11   confidential, the last thing you wanted anybody
12   to know was who you were or what you were working
13   on.    Because if you worked on corrupt policemen,
14   you could get hurt.
15          Q       During the course of the conversation
16   that you had with them over this course of a
17   couple hours, is there anything else that they
18   told you in specifics about specific acts of
19   retaliation or specific people who were
20   retaliating against them or anything like that?
21          A       The initial two hours was like a
22   feeling out period for me to see if I was even
23   going to waste my time helping them.                 And so we

24   had more than one meeting, you know, at different


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 1   restaurants.        And they even came to my house once
 2   and we sat down and talked.              The reason being is
 3   I wanted to hear her tell me this story more than
 4   once and as many times as I could because as a
 5   policeman and an investigator, if somebody is
 6   lying, they're going to get tripped up.                   And I
 7   found she was straight on line or on point every
 8   time I talked to her.           Sometimes you have to slap
 9   her to shut her up.           But she just was --
10   everything was on point.
11                  And then I said, you know, in my mind,
12   I said she's telling the truth.               And so I said,
13   you know, I'll advise you.             I'll help you.         And I
14   told them to get a lawyer.
15          Q       And you told them to get a lawyer on
16   that first meeting?
17          A       Yeah.     I told him you've got to get a
18   lawyer because he handles stuff -- well, I don't
19   know -- he was somehow -- there was lawyers
20   before him.       But I just said you got to get legal
21   advice.
22          Q       All right.       And so I want to kind of
23   walk through those conversations.                The first

24   conversation took a couple hours; you just told


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 1   me what that conversation was about.                 When was
 2   the next conversation?
 3          A       Probably a couple weeks later.
 4          Q       And where was that held?
 5          A       I think at the same restaurant.
 6          Q       And who was there?
 7          A       The three of them:           Tony, Danny, and,
 8   Shannon.
 9          Q       How long did you guys meet this time?
10          A       Probably another two hours.
11          Q       And approximately when would that have
12   been?      Approximate because I don't know if I
13   asked you the last one.
14          A       This was within a few weeks of them
15   filing their CR numbers, getting dumped from
16   their positions, getting moved around the
17   department, put in an office with nothing to do,
18   you know.      At that point it started to get --
19   initially it just seemed that the hostile work
20   environment -- that's the term I'll use -- that
21   was getting worse and worse and worse.
22          Q       This was approximately when, the
23   second conversation?

24          A       A couple weeks after the first.


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 1          Q       When would have been --
 2          A       Because I made some phone calls to
 3   find out are these coppers good coppers?                   What's
 4   the story?       I asked people that knew them.               You
 5   know because if they were useless nothings, I
 6   wouldn't even waste my time.
 7          Q       What month, what year was your first
 8   meeting?
 9          A       I believe 2011, and I could not tell
10   you the month.
11          Q       Okay.     Approximately 2011?
12          A       I know it was cold.
13          Q       Well, it's Chicago.
14          A       Yes, I know.
15          Q       That's fine.        And then the second
16   meeting was approximately two weeks after that?
17          A       Two weeks later, yeah.
18          Q       So still cold outside in approximately
19   2011?
20          A       Yes.
21          Q       Now, before we get to the
22   conversation, you said you had made a few calls
23   about them.       Who did you call about them?

24          A       I just called -- Tony worked in 24


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 1   when I was there.          I didn't have any idea who he
 2   was.    So I asked, you know, a couple of coppers,
 3   you know, that worked for me.               "Do you know this
 4   guy?"      "Yeah."     "Was he a good policeman?"
 5   "Yeah."
 6                  Then I called a couple people that I
 7   knew that were in narcotics, people that worked
 8   for me and transferred to narcotics.                 And I said
 9   you know -- yeah, were they good workers?                   Yeah.
10   Were they on the legit, meaning were they honest?
11   Yeah.
12          Q       Who were these people you talked to?
13          A       I don't have any idea now.              This was
14   four years ago.         But they were all policeman that
15   worked for me or I worked with.
16          Q       As we sit here today, can you think of
17   the names of any of the people you talked to?
18          A       No.     Sorry.
19          Q       If any come back to you while we're
20   having this deposition, just let me know.
21                  So that second conversation, couple of
22   hours.     Same people were there, Shannon, Tony
23   Hernandez and Danny Echeverria.               And what did

24   you -- I'm going to kind of go through the same


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 1   thing.     What did Shannon say?
 2          A       I believe at this meeting at this time
 3   they explained to me that -- well, Danny and
 4   Shannon, because Tony -- Tony was just there
 5   because this was -- Now we're talking about Danny
 6   and Shannon, because Tony's case was rather cut
 7   and dry.      This guy cheated him and did this,
 8   boom, it's over.
 9                  These two, though, were -- they were
10   assigned -- they were assigned to auditing and
11   internal control, which working for a lieutenant
12   named Pascua, Debbie Pascua.              And she had said
13   something to the effect of, "I know you're here.
14   I know you're rats.           And you're going to be
15   sitting here and you're going to just sit by
16   those phones, and that's all you're going to do,
17   just sit here."
18                  And at one time they were assigned to
19   the training division, and they just sat in a
20   little cubicle with phones with nothing to do.
21   And at that point she thought they're obviously
22   out to get me or this is my punishment for doing
23   my job.      And so we went from auditing and

24   internal control to training division.                  She was


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 1   then -- Tony was taken off his team.                 They were
 2   taken off their team.           They were separated.           Boy,
 3   this is hard to remember all this stuff.
 4                  O'Grady had called her an IAD rat.                 At
 5   rollcall they were told the other officers were
 6   told by their supervisors that these two were IAD
 7   rats when, in fact, they were never in the IAD.
 8   Lost my train of thought.             They were -- Can you
 9   pause for a minute?
10          Q       Sure.
11          A       I have to think this in my head.
12          Q       Okay.
13          A       Okay.     So then they were -- Danny was
14   still working.         And policemen had told him that
15   they had to be careful because the bosses were
16   out to get him and that he shouldn't associate
17   with Shannon because she was the one that was
18   causing all this problem.             And O'Grady had given
19   instructions to his lieutenants and his sergeants
20   that he didn't want them to be assigned any
21   cases, to be assigned anything; and that he at
22   one point band her from the building, the Homan
23   Square building where she has a locker.

24                  And I found this to be troubling


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 1   because O'Grady himself worked in the internal
 2   affairs division.          And then I found out that he
 3   denied to everyone that he was ever in the IAD.
 4   And I know for a fact he was in the IAD because
 5   his office was right across the hall from my
 6   office.      He was going to law school, and he was
 7   assigned to the IAD to make his schedule easier
 8   to go to school.         So he out and out lied to
 9   everybody.       And then finally he admitted to
10   somebody that he was, in fact, assigned to the
11   internal affairs division.
12                  And he should have known, him being a
13   boss, him be a supervisor, him being a commander,
14   he should have been aware of the rules and
15   regulations regarding EEOC problems, hostile work
16   environment, harassment.             And he as the commander
17   should have put a stop to it.
18          Q       So you guys talked about that during
19   that conversation at the restaurant the second
20   time, right?
21          A       Yes.     And I told them this is what you
22   have -- you have to get to somebody -- you have
23   to voice your displeasure and get somebody to

24   take up your cause.           And I remember making a call


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 1   to a Beatrice Cuello, Bea Cuello.                We worked
 2   together on that CHA transition team, and she was
 3   one of the first deputy superintendents.
 4          Q       Was that right after this
 5   conversation?
 6          A       No.     I think this was sometime during
 7   this period of where I'm trying to figure out if
 8   these kids are telling the truth.                And you asked
 9   if I talked to anybody?            She's the one that I
10   called.
11                  And I said, "Do you know Echeverria
12   and Spalding?"
13                  And she said, "Yeah, I know them.                 And
14   I find them to be good officers.                I don't know
15   why everybody is messing with them."
16                  She then went and talked to the other
17   first deputy.        His name was Jackson.           And he said
18   that Roti and O'Grady said that they were IAD
19   rats and that they were not welcome back in
20   narcotics section.          Because once you're taken
21   from your -- you're assigned to detach services,
22   once you're out of detach services, you go back
23   to your original unit.            And they were supposed to

24   go back to narcotics.           And that's when Roti and


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 1   O'Grady called them rats and said we don't want
 2   them back.
 3                  So my timeline might be mixed up, but
 4   you'll eventually get it.             Right?     Does that make
 5   sense?
 6          Q       Let me go back to a few things that
 7   you just said.
 8          A       Sorry.
 9          Q       So you said that apparently Debbie
10   Pascua had called Shannon and Danny rats?
11          A       IAD rats, yeah.
12          Q       Did you ever talk to Debbie Pascua
13   about that?
14          A       No.
15          Q       Do you have any firsthand knowledge
16   that that's what Debbie said?
17          A       No, I do not.
18          Q       So this is what Shannon and Danny told
19   you that she said?
20          A       Yes.
21          Q       As it relates to the -- so O'Grady
22   having called them IAD rats at rollcall, is that
23   something that Danny and Shannon told you?

24          A       Yes.     They had been told by other


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 1   officers.
 2          Q       Did Danny and Shannon claim to have
 3   heard that?
 4          A       From other people.
 5          Q       From other people?
 6          A       But Bea Cuello, she said that they
 7   said they were IAD rats and didn't want them
 8   back.
 9          Q       I just want to go back to what we were
10   talking about.         So as it relates to O'Grady, do
11   you have any firsthand knowledge about O'Grady
12   ever calling Danny and Shannon rats, IAD rats?
13          A       No.
14          Q       Do you know if -- did the names of
15   anybody who was present at that rollcall where
16   O'Grady allegedly called them IAD rats would have
17   come up, the names of any people come up?
18          A       They mentioned sergeants and a
19   lieutenant.       I don't know who they were.              I mean,
20   they mentioned their names, and I don't know who
21   they are.
22          Q       So Danny and Shannon told you the
23   names of those folks, but you don't remember who

24   they were?


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 1          A       Padar being one.          He was one.
 2          Q       So Padar was one would have been one.
 3   People at rollcall --
 4          A       Well, he was Tony's sergeant.
 5          Q       I just want to be clear for the
 6   record.
 7          A       Okay.
 8          Q       Padar would have been one of the
 9   people at the rollcall when O'Grady allegedly
10   called them IAD rats?
11          A       It wasn't rollcall; he told.               The
12   understanding I got, he told his supervisors that
13   these two people were IAD rats and everybody had
14   to be careful.         Then his supervisors, lieutenant
15   would go to the sergeants and tell the sergeants,
16   and then the sergeant would disseminate the
17   information to the patrolmen.               So the commander
18   would not go to all the patrolmen in narcotics
19   and have a big meeting and say they are IAD rats.
20   He would tell his lieutenants, his lieutenants
21   would tell their sergeants, and their sergeants
22   would say this stuff.
23          Q       Understood.        Beside Padar, do you know

24   the names of any of the other sergeants or


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 1   patrolmen or anybody else who came up during that
 2   conversation who would have heard them referred
 3   to as rats?
 4          A       There's a lieutenant named Cesario.                 I
 5   don't know what his position was there.                   He's a
 6   commander now.         And another Hispanic lieutenant
 7   that was there that they originally tried to talk
 8   to who said, "I'm not getting involved."
 9          Q       And you don't know what his name is?
10          A       I don't know the guy's name.
11          Q       But you know he's a Hispanic
12   lieutenant?
13          A       Right.      Because I thought his name was
14   Hispanic.
15          Q       Last name.       Okay.
16                  I'm trying to read my notes.               In terms
17   of the policeman who told Danny not to associate
18   with Shannon, do you recall who that was person
19   was?
20          A       These were officers that worked with
21   Danny on Danny's team in narcotics.
22          Q       Okay.     And as we sit here now, do you
23   know the names of any of those people?

24          A       No.     I don't think he ever mentioned


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 1   them.
 2          Q       During the conversation you don't
 3   recall Danny telling you the names of those folks
 4   who told you?
 5          A       No.     He just said cops that worked
 6   with him.
 7          Q       Let me finish.         You don't recall
 8   during that conversation Danny telling you the
 9   names of any of the policemen who told him not to
10   associate with Shannon?
11          A       No.
12          Q       Now, as for instructions being given
13   for them not to be assigned to cases, you said a
14   few minutes earlier that it's your understanding
15   that O'Grady gave those instructions for them not
16   to be assigned to cases.             Is that what you were
17   told during that meeting?
18          A       One of those meetings, yes.
19          Q       Did you have the opportunity to verify
20   that or check that with anyone?
21          A       No.     It wasn't my job to do.
22          Q       Do you know James O'Grady?
23          A       He worked in the IAD, yeah.              I met

24   him.    I know who he is.          I've talked to him.           But


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 1   I haven't talked to him since, I don't know, 15,
 2   18 years.
 3          Q       And you never talked to him about
 4   Shannon Spalding or Danny Echeverria?
 5          A       No.
 6          Q       So any of the things that you have
 7   testified to today about what James O'Grady was
 8   involved in or said or anything of those kind of
 9   things come directly from Shannon and Danny; is
10   that right?
11          A       Some do.       Other issues with O'Grady
12   came from other people just in the course of
13   conversations.
14          Q       Can you give me the names of some of
15   those other people who mentioned James O'Grady
16   during the course of conversations?
17          A       I was at a big lunch, and then they
18   were talking about O'Grady had used a phony
19   address so his kids could go to school in Park
20   Ridge, and they thought that that was -- that's
21   obviously a violation of the rules and the law.
22   And I go, why didn't anybody do anything?
23          Q       Let me go back.         I guess I should have

24   formed the question a little better.                 I'm really


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 1   just talking about as it relates to the
 2   allegations made by Shannon and Danny as it
 3   relates to their case.
 4          A       Okay.
 5          Q       If the information that you have
 6   regarding O'Grady as it relates to Shannon and
 7   Danny's case, all that information came from
 8   Danny and Shannon; is that right?
 9          A       Yes, I believe so.
10          Q       Now, let's go back to the conversation
11   with Bea Cuello?         Now, when exactly -- not
12   exactly, but to the extent you know month, date,
13   when did that conversation happen?
14          A       After I first got contacted by Murphy
15   and Shannon and they told me all this stuff,
16   within a few days I reached out and called
17   Beatrice.      And I said do you know these two
18   officers and is there a problem with them?
19   Because if she would have said yes, they're no
20   good, whatever, I wouldn't have been involved in
21   this at all.        But she said to her knowledge and
22   her understanding of them they were two good
23   officers.      She doesn't understand why what's

24   happening to them happened.


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 1                  And then she made an inquiry and found
 2   out that Jackson, who was the first deputy --
 3   There were two first deputies:               Beatrice and
 4   Jackson.      Jackson, Roti, and O'Grady had said to
 5   the first deputy, "We don't want them back.
 6   They're IAD rats."
 7          Q       Now, how do you know Bea?
 8          A       I met Beatrice on the job in the
 9   nineties, and I find her to be honest,
10   articulate, and a very, very bright woman.
11          Q       Did you guys worked together in the
12   nineties?
13          A       I worked on the CHA team.             She was a
14   sergeant.      I was a sergeant.          There were a couple
15   more.      And she was more of a tactical technical
16   advisor, where I was second in charge of
17   corruption investigation in the CHA.                 She had the
18   much harder job.
19          Q       And this conversation that you had
20   with her, with Beatrice, was over the phone?
21          A       Yes.
22          Q       And did you call her?
23          A       Yes.

24          Q       And how long was the conversation?


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 1          A       A couple of minutes.           Maybe five
 2   minutes.
 3          Q       And during the conversation, did she
 4   ever tell you that she had firsthand knowledge
 5   about specific things that were happening with
 6   Shannon?
 7          A       No, she couldn't know.
 8          Q       So is it correct for me to say that
 9   the things she said were things she had heard
10   from Jackson; is that right?
11          A       She was at a meeting when this was
12   told.
13          Q       When what was told?           I just want to be
14   clear.
15          A       That these two were IAD rats.
16          Q       She was at a meeting?
17          A       She was at a meeting with all the
18   parties involved.
19          Q       So she was at a meeting with Jackson,
20   Roti, O'Grady?
21          A       They were all present at this meeting.
22          Q       And where did that meeting take place?
23          A       Headquarters someplace.             And I don't

24   know what -- could have been just a normal


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 1   morning meeting and their names came up or
 2   whatever.      And that's when -- that was
 3   discovered.
 4          Q       Can you tell me if you remember any
 5   other names of folks who would have been part of
 6   that meeting where it was said that Shannon and
 7   Danny were rats?
 8          A       No.
 9          Q       I want to make sure I have everybody
10   who Bea told you was at that meeting.                  That would
11   have been Jackson -- Do you know Jackson's first
12   name?
13          A       No.
14          Q       Do you know anything about Jackson
15   except -- is it a he or she?
16          A       He was the first deputy
17   superintendent.         And then Roti was the chief of
18   organized crime.         And O'Grady was the commander
19   of the narcotics unit.
20          Q       Anybody else that was supposedly there
21   during that meeting?
22          A       I don't know what -- I don't know
23   where or what was going on, what kind of meeting

24   it was.      But, you know, I just know what those


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 1   three guys allegedly said.
 2          Q       You've mentioned some of these names,
 3   and I just want to make sure I make it clear
 4   whether you know these folks or just heard their
 5   name and that kind of thing.              So I want to go
 6   through the names of the defendants in this
 7   lawsuit.      Okay?
 8          A       Okay.
 9          Q       Juan Rivera, do you know Juan Rivera?
10          A       Yeah.     He was -- when I was in
11   confidential, he came to confidential as a
12   lieutenant because my lieutenant was retiring.
13   And he was briefed on all these cases including
14   the Watts case.         And I think Rivera came there in
15   like 2004 or 2005.          And he was briefed on Watts
16   and the investigations regarding his misconduct.
17   I mean, he was involved in everything.                  And we
18   even thought he was involved in the murder of a
19   policeman.       And then I guess he stayed in IAD.
20   And then he became a chief there.                I don't know
21   what a chief does -- we had deputy
22   superintendents; he's got a chief and four or
23   five commanders there.            I don't know what the

24   hierarchy is in that division anymore.


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 1          Q       Have you had any conversations with
 2   Juan Rivera about Shannon Spalding or Danny
 3   Echeverria?
 4          A       No.
 5          Q       How about Debra Kirby, do you know who
 6   that is?
 7          A       Oh, yeah, I know who she is.               No, I've
 8   never talked to her.
 9          Q       You never talked to her?             Have you
10   ever worked with her?
11          A       Yeah.     She was the chief of staff --
12   what do they call -- she was the head legal
13   office for the police department.                So being in
14   the IAD, I had dealings with her, but not
15   regarding this.
16          Q       So you've had dealings with Debra
17   Kirby, but not regarding Shannon Spalding or
18   Danny Echeverria?
19          A       Right.
20          Q       James O'Grady, we just talked about
21   him.    Besides the things you've already told me
22   about James O'Grady, is there anything else about
23   James O'Grady, any conversations -- I'm sorry,

24   you shook your head.


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 1          A       No.
 2          Q       Any conversations you've had with him
 3   about Shannon Spalding or Danny Echeverria?
 4          A       Never.
 5          Q       What about Nicholas Roti?
 6          A       Wouldn't know him if he walked in this
 7   room.
 8          Q       So you never met Nicholas Roti?
 9          A       No.
10          Q       So you never had any conversations
11   with him about Danny Echeverria or Shannon
12   Spalding?
13          A       No idea who that is.
14          Q       So you've never had any conversations
15   with him about Danny or Shannon; is that right?
16          A       Yes, Marlene.         I don't know even know
17   who he is.
18          Q       Robert Cesario.         You just mentioned
19   his name.      Do you know Robert Cesario?
20          A       No.
21          Q       Have you had any conversations with
22   Robert Cesario?
23          A       No.

24          Q       So you never talked to him about


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 1   Shannon or Danny?
 2          A       No.
 3          Q       Nothing about this case?
 4          A       No.
 5          Q       Joseph Saleme, do you know who that
 6   is?
 7          A       No.
 8          Q       You never any conversations with him?
 9          A       No.
10          Q       Not about Shannon or Danny or anything
11   else?
12          A       No.
13          Q       Lastly, Thomas Mills?
14          A       No idea who is.
15          Q       So no conversations with Thomas Mills
16   about Shannon or Danny?
17          A       No.     Are these guys policemen or
18   crooks.
19          Q       They're policemen.
20          A       I had to ask.
21          Q       Going back to -- So we've gone
22   through two conversations.             You told me what
23   Shannon told you in the second conversation.

24   What, if anything, did Danny tell you during that


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 1   second conversation?
 2          A       Basically that they were getting --
 3   I'm cleaning this up -- they were getting screwed
 4   over.      They were sent to fugitive squad.               They
 5   weren't allowed to get cars.              They weren't
 6   allowed to be deputized.             They were given the
 7   impossible warrants to serve or the impossible
 8   people to find.         They were set up to fail.             And
 9   if you're a good policeman for 18 years, you all
10   of a sudden don't become a rotten policeman.
11   It's very unlikely that you'll turn the other
12   way.    And it appears this is what the department
13   was doing, was making them bad policemen.                   It was
14   making them out to be bad policemen, when, in
15   fact, they did what they were supposed to do.
16          Q       During that second meeting, was Danny
17   able to give you specific names of people who
18   were retaliating against him or --
19          A       I mean, he said the sergeants, but I
20   don't remember sergeants' names.                The only guy
21   that I remember being talked about was this
22   guy -- I think his name is Barnes -- who was from
23   confidential investigations in IAD and what he

24   had done.      That was a name that kept coming up.


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 1   They would ask me about procedures and what he
 2   did and false arrests and allegations and not
 3   being served and trying to question them --
 4   that's the only name.           You know, they very well
 5   might have said names, but I remember that
 6   Barnes.
 7          MR. SMITH:       I'm just going to make an
 8   objection on the record for the compound nature
 9   of the question and the assertion of was he able
10   to, just for the record.
11          MS. DAVIS:       Okay.
12   BY MS. DAVIS:
13          Q       As it relates to Barnes, was it
14   Shannon who was telling you about Officer Barnes?
15          A       Oh, it was all three of them.
16          Q       And specifically can you recall what,
17   if anything, or what they said specifically that
18   Barnes did as related to Shannon or Danny?
19          A       Barnes at one time came to where they
20   were working, took Shannon out of wherever she
21   was, took her to a room, told her that she was
22   under arrest because she allegedly had a tape
23   recordings or something.             Never gave her charges

24   and allegations.         Did not give her the


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 1   opportunity to call her attorney, to call her
 2   supervisor.       He just held her there for like
 3   40 minutes trying to intimidate her.                 And then
 4   finally, from what she said, he says, "Okay.
 5   Never mind.       I'm going to make this all go away.
 6   You can leave now."
 7                  And he -- According to IAD policies
 8   and procedures, if you're going to question an
 9   officer, you have to give them notice.                  You have
10   to allow them time to get an attorney to
11   represent them or their union representative to
12   represent them.         And to tell her that she's under
13   arrest and she had to answer these questions and
14   she had to surrender her phone or her computer
15   were all in violation of the rules and
16   regulations.        And then to just say, "Okay.              You
17   can leave now" was just abhorrent.
18          Q       And this is what Shannon told you that
19   Officer Barnes and said to her?
20          A       He was at sergeant.           He might have
21   been the acting commander of confidential.
22          Q       We're not doing a good job of letting
23   each other finish.

24          A       I'm sorry.


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 1          Q       And the court reporter is going to get
 2   mad at us.       The thing you just said about
 3   Sergeant Barnes, those are things that Shannon
 4   told you; isn't that right?
 5          A       Yes.
 6          Q       Did you have an opportunity to speak
 7   with Sergeant Barnes at all about this?
 8          A       No.
 9          Q       Did she tell you that anybody else was
10   present during the time Sergeant Barnes talked to
11   her?
12          A       I don't know if there was an
13   officer -- might have been two women that were
14   working as secretaries in the unit.                 One of them
15   named Hannah, and I don't know the other woman.
16          Q       And did she say that Sergeant Barnes
17   placed her under arrest?
18          A       Yes.
19          Q       Did she tell you exactly what she was
20   charged with?
21          A       That --
22          MR. SMITH:       Objection, form of the question.
23          MS. DAVIS:       I'll restate that question.

24


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 1   BY MS. DAVIS:
 2          Q       You said she said she was placed under
 3   arrest.      What was your understanding of what she
 4   was placed under arrest for?
 5          A       He alleged that she had taped
 6   conversations with a supervisor that threatened
 7   her or something and that she had a conversation
 8   on a tape recording of that conversation.
 9          Q       Did she ever tell you that she, in
10   fact, did have a tape recording of that
11   conversation?
12          A       No.
13          Q       Did she ever tell you that she was --
14   Let me strike that.           As it relates to the
15   conversation with Sergeant Barnes, did she tell
16   you where the room was that she was supposedly in
17   with him?
18          A       It was in somewhere in Homan Square.
19          Q       Did she ever tell you that she was
20   free to go during the conversation?
21          A       No.     She told me that they would not
22   allow her to leave.           They held her in that room
23   under the threat of the arrest and the charging.

24          Q       Did she ever tell you whether or not


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 1   she talked to her police -- her attorney during
 2   the course of that conversation with Sergeant
 3   Barnes?
 4          A       She was not allowed to.
 5          Q       So we're still on the second
 6   conversation.        That conversation happened.
 7   Anything else you all talked about during that
 8   second conversation that you had?
 9          A       No.     I just gave you a cornucopia of
10   three or four conversations probably.                  I don't
11   remember each time what we talked about
12   specifically.
13          Q       Okay.     That's fair.        So in total,
14   about how many conversations did you have, if you
15   can recall?
16          A       Many.
17          Q       Would you say more than five?
18          A       Oh, yeah.
19          Q       Did you have more than five meetings?
20          A       Yeah.
21          Q       About how many -- because I said
22   conversations.         So let me break that down a
23   little bit more.         In terms of face-to-face

24   meetings, how many meetings would you say that


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 1   you had?
 2          A       In four years?
 3          Q       In four years.
 4          A       I would say -- and with the lawyer
 5   counting being there too?             A dozen.
 6          Q       And first I'm asking about not
 7   meetings with the lawyer.             So a dozen meetings as
 8   it relates to just you, Danny, Shannon, and maybe
 9   Tony, was that a dozen meetings?
10          A       No.     Because he was involved -- their
11   attorney, Dan Herbert, he was there.                 Their
12   attorney was there when they went the news media,
13   was asking questions about this.                You know, I was
14   present at that.
15          Q       How many meetings were you at where
16   there were lawyers at the meeting?
17          A       Oh, I don't know.
18          Q       Would you say ten?
19          A       No, no, not ten.          Maybe four.
20          Q       Four?
21          A       Four or five.
22          Q       And during those meetings, who was
23   present during the meetings that you had with the

24   lawyers?


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 1          A       The lawyer.        Another lawyer.         That
 2   girl -- woman that works for him that's an
 3   attorney.      Shannon.       Shannon and Danny.
 4   Sometimes Tony.
 5          Q       And during those meetings, would you
 6   be having group conversations?
 7          A       Well, some of them.           He took my
 8   deposition.
 9          Q       Okay.
10          MR. SMITH:       Can I object to the compound
11   nature of the questions in terms of different
12   meetings and different people?
13   BY MS. DAVIS:
14          Q       Okay.     Well, I'm just trying to get to
15   the -- just the bottom line as it relates to the
16   meetings and who was there.              And I'm not trying
17   to step on any privileged conversations.
18                  But you -- any meetings you were at
19   with lawyers present, what were the nature of
20   those conversations?           Because you weren't there
21   represented by any of those lawyers, right?
22          A       No, they're not my lawyers.
23          Q       So what were the nature of those

24   conversations that you had with those lawyers?


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 1          MR. SMITH:       Again, I'm just going to object
 2   to the compound nature of the question.                   You're
 3   asking about all his meetings at once?
 4   BY MS. DAVIS:
 5          Q       Well, we can go through it one by one.
 6                  You said you had maybe about four
 7   meetings?
 8          A       Yeah.
 9          Q       So let's start with the ones that you
10   remember and kind of go in order.                First meeting
11   that you had where the lawyers were present?
12          A       Like with Herbert or with him, the
13   lawyers that are familiar with police department
14   procedures and general orders and rules and
15   regulations, they would say can you come down and
16   explain, you know, like the city has different
17   rules and regulations.            An example I'll give you,
18   an EEOC complaint, there's federal laws that have
19   to be abided by, and you have to file the
20   complaint in a certain time.
21                  Well, the city says now you can do it,
22   you have 18 months to file the complaint, where
23   federal law says you have to do it different.

24   The city, they have different rules and


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 1   regulations.        So he wouldn't necessarily know
 2   what rules and regulations were violated by
 3   Rivera or Murphy or the lieutenants or the
 4   sergeants because he doesn't work with those
 5   rules.     I worked with them for 18 years, helped
 6   revise them and teach classes on them, so I might
 7   know more than he does regarding that; whereas
 8   he, or any lawyer, knows more about the law than
 9   I do.
10          Q       And so the nature of at least one of
11   those meetings was about that, you explaining the
12   rules and policies and procedures; is that right?
13          A       One.     And then another one would be
14   they were going to depose somebody.                 And they
15   would ask me, well, what are the responsibilities
16   of the lieutenant?          What are the responsibilities
17   of the commander?          What -- we call it, police
18   terms, it's the conduct of investigation, how
19   you're supposed to handle an investigation.
20                  You know, you get the CR number.                Then
21   you interview the witnesses.              Then you interview
22   the complainant.         And then you go after the
23   witnesses and accused, and that's how you come to

24   this conclusion.         Well, the order that these


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 1   things have to be done is pretty well-defined in
 2   the rules and regulations.
 3          Q       And during those meetings where you
 4   were discussing the rules and regulations,
 5   besides the lawyers present, who else was present
 6   for those meetings?
 7          A       In some cases an associate or a lawyer
 8   that worked with him.           I think Shannon.          Shannon
 9   was probably there.           And on some occasions Tony
10   and some occasions Danny.
11          Q       Besides talking with them about the
12   rules and regulations and the policies and
13   procedures, was there anything else that you
14   discussed during those meetings that you had with
15   the lawyers other than about the policies and
16   procedures?
17          A       Other than I made him buy lunch every
18   time I went down there, no.
19          Q       And besides the people that you
20   already named, some of the lawyers and some of
21   their staff and occasionally or sometimes Danny
22   and Shannon or Tony, anybody else present for any
23   of those conversations?

24          A       Geez.     I mean, Phil Rogers from NBC


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 1   news was there because they were going to put it
 2   on the news.        But, I mean, you know, he was in an
 3   office one day when they were doing -- I mean, he
 4   was there when they were going to put this
 5   corruption thing out on the news and his
 6   cameraman.       I can't remember each and every
 7   person that was at every meeting because
 8   sometimes Danny is, sometimes Tony is.
 9          Q       Did you have conversation with Phil
10   Rogers about the case?
11          A       Oh, yeah.       He asked me, and I wouldn't
12   go on camera.
13          Q       More than one conversation with Phil
14   Rogers?
15          A       No.
16          Q       Let me show you what I'm going to mark
17   as Koconis Exhibit 1.
18              (A short recess was had.)
19   BY MS. DAVIS:
20          Q       We're back on the record.             I'm just
21   going to remind you --
22          A       I'm under oath.
23          Q       -- that you're under oath.

24                  Mr. Koconis, Mr. Peter Koconis?


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 1          A       Just say Peter.         Koconis is a toughy,
 2   isn't it?
 3          Q       It's just the way it's spelled.                Makes
 4   me want to say something else.
 5                  So I've already marked Koconis
 6   Exhibit 1.       Let me ask you have you had a chance
 7   to review this --
 8          A       Yes.
 9          Q       -- affidavit?         Okay.
10          A       Yes, I did.
11          Q       We just took a break.            Did you -- were
12   you reviewing the affidavit during the break?
13          A       Sort of just read it now.
14          Q       But other than just reading it here in
15   this room, did you read it or go over it while we
16   were on break?
17          A       Just here.
18          Q       Look to the last page, page 5.               Is
19   that your signature?
20          A       Yes.
21          Q       And did you draft this affidavit?
22          A       What do you mean?
23          Q       Did you write this affidavit?

24          A       No.


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 1          Q       Do you know who did?
 2          A       I think Chris.
 3          Q       Did you have a chance to review it
 4   before signing it?
 5          A       Yes.
 6          Q       And when you were reviewing it, did
 7   you make any corrections to it before you signed
 8   it?
 9          A       When it was first done, no.
10          Q       I'm going to put on the record that in
11   between the break when I saw Peter reviewing the
12   transcript, he made mention that there was a
13   change or something that needed to be made to it,
14   an error that was on it.             I'm going to ask you to
15   draw my attention to what that error is now.
16          A       It's not really an error.             In
17   paragraph 12, it says sometime on or about the
18   year 2011, Officer Spalding contacted me
19   requesting a meeting and that it was urgent.                     The
20   first call came from Lieutenant Karyn Murphy, and
21   then Officer Spalding called.
22          Q       As you sit here, are there any other
23   corrections or changes or things that should be

24   added or taken away from this document to make it


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 1   accurate?
 2          A       I don't think so.
 3          Q       And as you sit here now after having
 4   reviewed it, do you stand by all the statements
 5   that are made in there, with that one correction?
 6          A       Yeah, everything is the same.
 7          Q       Who approached you about actually
 8   doing an affidavit in this case?
 9          A       I think Spalding said that her
10   attorney, Chris, would like me to do an
11   affidavit.
12          Q       And when did she tell you that?
13          A       Sometime before we did the affidavit.
14          Q       Was that in a telephone conversation?
15          A       Yes.
16          Q       It wasn't face-to-face?
17          A       No.
18          Q       Was anybody else on the telephone when
19   she asked you to provide an affidavit?
20          A       I don't think so.
21          Q       And prior to your signing the
22   affidavit, did you have any conversations with
23   anybody about what to put in the affidavit?

24          A       No.     He asked questions; I answered.


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 1          Q       And so let me go over that.              So you at
 2   some point talked to Chris about this affidavit?
 3          A       Yes.     And I believe the girl, the
 4   woman was with you, the -- your assistant or
 5   whatever, I think that two of them were in the
 6   office.
 7          Q       And did you talk to them about the
 8   affidavit in this office?
 9          A       Yeah.
10          Q       Was that the first time you met Chris?
11          A       I don't remember.
12          Q       And so the things included in the
13   affidavit, the paragraphs 1 through 18, are these
14   all things that you told to Chris?
15          A       Yes.
16          Q       And then once you told this
17   information to Chris, then he or somebody in his
18   office then authored this affidavit; is that
19   right?
20          A       They typed it, and I signed it, and it
21   got notarized by Kenneth Sison.
22          Q       Do you remember if there were any
23   other drafts or revisions to the document before

24   you signed it?


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 1          A       I don't recall any.
 2          Q       Was it January 20, 2015, when you
 3   signed it?
 4          A       Yes.     That's the date on there.
 5          Q       Did you sign it in Chris's office?
 6          A       Yes.
 7          Q       Was there anybody else present when
 8   you signed the affidavit?
 9          A       Kenny Sison.
10          Q       Was there anybody else beside Kenny
11   Sison?
12          A       Maybe that girl.
13          Q       Do you remember when Danny or Shannon
14   were present when you signed the affidavit?
15          A       I don't remember.
16          Q       Do you know an officer by the name of
17   Michael Spagaren?
18          A       No.
19          Q       Do you know if he was present when you
20   signed the affidavit?
21          A       I don't even know who he is.
22          Q       What about anybody else, do you
23   remember anybody else being present before --

24   while you were there to sign the affidavit?


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 1          A       I mean, Spalding could have been
 2   there, but that would be it that I could
 3   remember.
 4          Q       How long were you at Chris's office on
 5   the day you came to sign this affidavit?
 6          A       Probably a couple hours.
 7          Q       And besides signing this affidavit,
 8   what else, if anything, did you do while you were
 9   at the office?
10          A       I remember telling a woman that was
11   his assistant that she shouldn't leave the
12   pictures on the floor, that she should hang them
13   in her office.
14          Q       Okay.
15          A       And we could have talked about some
16   policy or procedures with the department and
17   rules and regulations, but I couldn't remember
18   any specifics.
19          Q       Do you recall whether or not Shannon
20   provided any information that -- Let me strike
21   that.
22                  On the day that you came to Chris's
23   office to sign this affidavit, was there anybody

24   else giving input as to what should be in this


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 1   affidavit besides yourself?
 2          A       I don't recall anybody.
 3          Q       And that includes Shannon?              Did
 4   Shannon give you any input as to what should be
 5   in this affidavit?
 6          A       When you say input, what do you mean?
 7          Q       I mean, you said that you were talking
 8   to Chris about what should be contained in the
 9   affidavit.       Was there kind of group input?               Did
10   somebody else include information that should be
11   put into this affidavit?
12          A       Well, Spalding would have told me
13   about all the stuff that led up to this, and so a
14   lot of this information I got from her.                   But the
15   stuff regarding Watts and Rivera, that I knew
16   from working in IAD.           My thing with Officer
17   Dignan that I referred to earlier and Karen
18   Rowan, that's on me.           But, like, you know, where
19   Shannon and Echeverria were working, you know,
20   joint investigation with the FBI, she would have
21   told me that.
22          Q       Let me be a little bit more specific
23   with my question.          I understand that you

24   testified before all the information with


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 1   regarding to Shannon and Danny are things that
 2   they told you.
 3          A       Right.
 4          Q       I mean on the day that this affidavit
 5   was being put together, was it the case that you
 6   were giving -- specifically telling the
 7   information to Chris or anybody else to put it in
 8   the affidavit, and they too, Shannon or Danny,
 9   were giving information at that time then for
10   this affidavit?
11          A       No, I don't think that they would have
12   given any information.            I mean, I don't recall.
13   I know -- I can't say I know, but she was
14   probably there.
15          MR. SMITH:       Just for the record I'm going to
16   object to the beginning of that question in terms
17   of form, other than what he's already testified
18   to about other sources besides Shannon and Danny.
19   BY MS. DAVIS:
20          Q       Okay.     So you're saying you don't
21   recall specifically whether she was there or not.
22   Is that your testimony?
23          A       Specifically, no.          She could have

24   been, but I don't remember back that far.


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 1          Q       Was there anything that was typed in
 2   this affidavit originally that you refused to
 3   attest to?
 4          A       I don't think so.
 5          Q       Did Shannon promise you anything in
 6   exchange for signing this affidavit?
 7          A       No.
 8          Q       Do you know what I mean by that?
 9          A       Yeah.     Did she offer me money or --
10   no.
11          Q       Exactly, money or any other --
12          A       As a matter of fact, I'll tell you I
13   make this joke:         It costs me money to meet them
14   because they come to my house or whatever and I
15   pay for the pizza.
16          Q       I think you mentioned before that
17   Danny or Shannon have been to your house.                   How
18   many times have they been to your house?
19          A       Danny and Shannon and Tony, altogether
20   they've been to my house three or four times.
21          Q       And that's during the -- and the time
22   period for that is between the time 2011 when you
23   first met them up until when was the last time

24   they were there?


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 1          A       Oh, God, sometime last year, I think.
 2   I had to have surgery, a hip replacement, so I
 3   couldn't go downtown, so I made them come by me
 4   if they wanted to talk.
 5          Q       So the times that they came to your
 6   house, they came to talk to you about this case?
 7          A       Yes.
 8          Q       And when they came to talk to you,
 9   what specifically did they talk to you as related
10   to this case?
11          A       They would ask me questions as to
12   people that that they wanted to depose or that
13   the lawyers wanted to depose, and they would ask
14   me what were the rules and regulations and
15   general orders regarding the responsibilities and
16   duties of a police officer, commander, or
17   lieutenant or supervisor or whatever, on what
18   they were supposed to do in given situation --
19   not just this one, but general situations the
20   rules say you have to do this and this and this.
21   And it applies to everyone for everything, not
22   just their case.
23          Q       Did they ever discuss with you or ask

24   you specific questions about strategy or what


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 1   they should be doing in this case?
 2          A       No.
 3          Q       So the times they've come to your
 4   house to talk to you, is it your testimony that
 5   you all never talked specifically about the
 6   actions that should be taken in this case and the
 7   people that should be deposed in this case?
 8          A       No.     Because I don't know most of
 9   those people.
10          Q       So I want to walk through kind of --
11   and we've talked about some of these things, so I
12   won't belabor the things we've already talked
13   about.
14                  I want to start at paragraph 4,
15   paragraph 4 through paragraph 8.                Will you look
16   at those?
17          A       Okay.
18          Q       Those paragraphs are about general
19   operational procedures as it relates to reporting
20   misconduct; isn't that right?
21          A       Yes.
22          Q       As it relates to those paragraphs,
23   specifically paragraph 4, it says:                 While

24   assigned there -- and that would be IAD -- I


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 1   assisted in writing general orders and
 2   operational procedures on the disciplinary
 3   policies to be followed by sworn personnel
 4   including members of IAD, Office of Professional
 5   Standards, OPS, now known as the Independent
 6   Review Police Authority, the IPRA.                 That's your
 7   testimony from this affidavit; is that right?
 8          A       Yes.
 9          Q       Now, when you say you assisted in
10   writing those general orders, can you help me
11   understand what exactly you did?                Did you have
12   input?     Did you actually write them?              Was it a
13   committee?       Was it a team?
14          A       It was a team.         And we go through the
15   old procedures and there were some orders that
16   were outdated and there were some policies that
17   were outdated.         And the assistant department
18   superintendent at the time wanted it to be more
19   up-to-date and wanted the investigations to be
20   coordinated so that they were all handled in the
21   same way by us and OPS.
22          Q       Who were the other officers on that
23   team that assisted in writing these general

24   orders and operational procedures?


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 1          A       Bob Bresnahan who was a lieutenant in
 2   special investigations.
 3          Q       How do you spell that?
 4          A       B-r-e-s-n-a-h-a-n, Robert.              Thomas
 5   Trancketello, T-r-a-n-c-k-e-t-e-l-l-o.                  Phyllis
 6   Muzzupappa, M-i-z-z-u-p-p-a.              And there were
 7   other people involved.            And I can't remember all
 8   of them because different sections would have
 9   different input.         And what we did with this then
10   we developed a course of training under Terry
11   Hillard and Karen Rowan, who was the department
12   legal officer at the time, where we made or
13   required everyone that was an investigator in IAD
14   no matter how long had been there and
15   investigators in OPS go through courses at the
16   police academy and received certificates of
17   training regarding interrogation, conduct of the
18   investigation, proper interviewing, controlling
19   of evidence, arrest procedures, and various other
20   things.
21          Q       Now, is it your testimony that you had
22   a hand in writing the policies and procedures for
23   all of those things?

24          A       Yeah.     I had input because I had been


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 1   there the longest.
 2          Q       So make sure I understand.              And this
 3   is where you can educate me a little bit.                   Was it
 4   like a big training manual and you had input on
 5   the whole manual?          Was it specific sections and
 6   you had input on specific sections?
 7          A       I wouldn't know anything about the
 8   records section.         That was Phyllis Muzzupappa.              I
 9   know they kept records, but I don't know how long
10   when you had to throw them out, I don't know what
11   they were classified or filed under.                 But mostly
12   I did interrogations, conduct of the
13   investigation, and interviews.
14          Q       So those were the sections in
15   particular you know you -- Wait, you have to let
16   me finish.       Those were the sections that you know
17   specifically you had a hand in writing and
18   drafting?
19          A       Yes.
20          Q       Any other sections that you can think
21   of that you haven't mentioned?
22          A       No.     We even had a seasoned police
23   detective, homicide detective -- I just had his

24   name -- Steve something or other.                He just passed


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 1   away.      He helped in the interviewing process.                 We
 2   went outside the IAD to get an experienced
 3   detective who handled homicides to assist us in
 4   this.
 5          Q       And do you know if the sections that
 6   you were part of writing have ever been amended?
 7          A       Oh, yes.
 8          Q       So when would you have finished your
 9   process in terms of the policies and procedures
10   you had a hand in drafting?
11          A       It's when Hillard was a
12   superintendent, so 2006, '7, something like that.
13          Q       And since 2006 or 2007, do you know
14   how many times those rules have been amended?
15          A       No, I don't know.
16          Q       But you do know that they have been
17   amended; is that right?
18          A       No, I don't, because there's only so
19   many ways you can interview, interrogate
20   somebody.      You know, you just --
21          Q       Do you know if there were any other
22   policies and procedures governing some of the
23   types of conduct that these policies and

24   procedures were designed to address?


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 1          A       I'm sorry.       I don't understand that.
 2          Q       That's fair.        I'll change the
 3   question.      Besides those particular policies and
 4   procedures, were there other procedures or rules
 5   or other, I guess, information that could be
 6   consulted that was -- that was different than the
 7   policies and procedures you all were working on?
 8          A       I think what caused this revamping was
 9   some different sections -- there was different
10   sections of the IAD.           There was general
11   investigations, special investigations,
12   confidential investigations.              And then OPS
13   handled brutality, shootings, domestic violence
14   cases.     And I think what they wanted was
15   everybody to interpret the rules and the orders
16   the same way so there wouldn't be any kind of a
17   conflict between the way I did an investigation
18   and somebody else did, or the way OPS did and
19   somebody in general did.             So they wanted
20   everybody to be on the same page.                So all the
21   reports would be done the same way, the findings
22   and the way everything was concluded, you know,
23   just the format, everything was done the right

24   way.


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 1          Q       And so it's your understanding that
 2   the policies and procedures that you all were
 3   working on were geared towards making everybody
 4   adhere to the same policies and procedures; is
 5   that right?
 6          A       Yes.
 7          Q       And do you know whether or not that,
 8   in fact, happened?          What I mean by that is do you
 9   know whether or not there were still other rules
10   and policies and procedures that other sections
11   were following that were different than the
12   policies and procedures you were following or you
13   were writing, helping draft?
14          A       I believe that after all this was done
15   and everybody had gone through this course that
16   everybody adhered to the same rules.
17          Q       I'm turning your attention to
18   paragraph 9.        If you'll look at that real quick.
19          A       Okay.
20          Q       And my only question about paragraph 9
21   is as it relates to this case, Shannon Spalding
22   and Danny Echeverria, did you ever have any
23   conversations with Ronald Watts or anybody

24   related to that investigation as it related to


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 1   Danny or Shannon?
 2          A       No.
 3          Q       Turning your attention to
 4   paragraph 11.        Paragraph 11 -- and you've already
 5   reviewed that; is that right?
 6          A       Uh-huh.
 7          Q       You requested reassignment to another
 8   division from IAD after your recommendation to
 9   fire Officer Dignan was not followed; is that
10   right?
11          A       When she tried -- when Rowan tried to
12   get me to change my finding, that's when I said I
13   want out.
14          Q       So you requested another assignment to
15   a new division?
16          A       Yes.
17          Q       And that assignment was granted?
18          A       Not by her.        I had to go to the first
19   department superintendent to get out.                  She tried
20   to stop me from leaving.
21          Q       But you ultimately were reassigned?
22          A       Yes.
23          Q       When you would give recommendations as

24   to what should happen to officers or personnel,


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 1   was it you who had the ultimate decision as to
 2   whether somebody would be terminated?
 3          A       No.
 4          Q       So there were other people who weighed
 5   in on those kind of decisions?
 6          A       No.     Could I explain?
 7          Q       Yes.
 8          A       I was allowed to suspend at that time
 9   the policy was that I was allowed to recommend
10   termination or suspension of 30 days.                  If I
11   recommended termination, it would be reviewed by
12   the legal officers in the police department.                     It
13   would go to the police board, and then eventually
14   the superintendent would sign off on it.                   But as
15   to my recommendations or anyone's
16   recommendations, people that worked for me, I
17   would look at their findings or their reports and
18   I would say you have to -- you know, get this or
19   you have to get a certified copy of conviction or
20   you have to have this or this to make sure your
21   case is strong.
22                  I'm sure some people had to do that
23   with my cases because I may be blind to something

24   that I'm doing, whereas somebody else would catch


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 1   something that I might have missed.
 2          Q       Understood.        So as it related to your
 3   authority, so to speak, you could give
 4   suspensions up to 30 days, but terminations went
 5   to other people, to someone else?
 6          A       All your recommendations always went
 7   up the chain and always went to -- my lieutenant
 8   would approve them.           Then it would go to the --
 9   in our case, an assistant department
10   superintendent.         And then if it went to firing,
11   it would go to the advocate section for review to
12   make sure that it followed legal standards.                    And
13   then it would go to the police board.
14          Q       I want to move on to paragraph 12
15   where it says:         Sometime on or about the year
16   2011, Officer Shannon Spalding contacted you
17   requesting a meeting and that it was urgent.
18                  You had already said it was Karyn?
19          A       It was Murphy.
20          Q       It was Karyn Murphy who first
21   contacted you; is that right?
22          A       Yes.
23          Q       But as it relates to this

24   paragraph 12, when Officer Shannon Spalding


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 1   contacted you, did she tell you that it was
 2   urgent and she wanted a meeting?
 3          A       Yes.
 4          Q       And we discussed those meetings that
 5   you had with Shannon that are the subject of
 6   number 12 in this paragraph; is that right?
 7          A       Yes.
 8          Q       When Shannon first contacted you and
 9   said she wanted a meeting and it was urgent, have
10   you told me everything that you guys talked about
11   as related to that first contact to you?
12          A       As best to my recollection, if you
13   ever spoke with Shannon Spalding, she talks and
14   she's quick and she's fast and she's got all
15   these facts.        And at some point I would have said
16   wait a minute, we have to talk in person because
17   I can't follow all this.
18          Q       And that's then when that first
19   meeting was arranged at the restaurant; is that
20   right?
21          A       Yes.
22          Q       I want to move to paragraph 13.                Where
23   it says during the meeting, Shannon informed me

24   that she and Officer Danny Echeverria had been


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 1   working on a confidential joint investigation
 2   with the FBI.        It goes on to say:          During this
 3   time, the confidentiality of their identities had
 4   been breached, and the targets of their
 5   investigation, which included sworn members of
 6   the police department, were not only aware of
 7   their identities and the nature of the
 8   investigation, but also began retaliating against
 9   both Shannon and Danny.
10                  As it relates to paragraph 13, as you
11   sit here now, besides any of the other things
12   that we've talked about, can you name any
13   specific people that Shannon and Danny were
14   referring to as it relates to paragraph 13 of
15   this affidavit?
16          A       Do you mean the accused or do you mean
17   who began retaliating against them?
18          Q       I mean who began retaliating against
19   them, where it says, "but also began to retaliate
20   against Shannon and Danny."
21          A       That would be Roti and O'Grady and
22   then other supervisors in narcotics.
23          Q       Any other names of other supervisors

24   in narcotics that you can think of?


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 1          A       Just Cesario is one of them.               We
 2   talked about him.          I don't know if he was a
 3   sergeant or a lieutenant there.               But he was one
 4   of their supervisors.
 5          Q       Before we move on, any other names of
 6   specific people you can think of that they
 7   related to you?
 8          A       They might have mentioned names, but
 9   names mean nothing to me.
10          Q       What about when you say names mean
11   nothing to you, what about districts or other
12   things that would make you know who the people
13   were if you can't remember names?
14          A       See, at the time they were -- this was
15   a federal investigation and they were worried,
16   you know, what they could say and -- because I
17   worked on some and -- I think it's Title 19 or
18   whatever where you can't reveal stuff.                  So there
19   were things that they couldn't tell me
20   specifically, but in general they could tell me.
21   And later on it became known that it was Watts.
22   And then that's when I said, well, he was under
23   our radar when I was in the CHA transition team

24   and then when I was in the IAD.


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 1          Q       I want you to look at paragraph 14.
 2   "Both officers expressed great concern for their
 3   safety and provided me with detail regarding the
 4   hostile work environment, extreme retaliation,
 5   lack of backup and other support from members of
 6   the department, including the identities of
 7   individuals involved in the retaliatory conduct."
 8                  I want to stop right there for a
 9   second.
10          A       Okay.
11          Q       As it relates to hostile work
12   environment, can you recall specific
13   conversations or -- let me go back -- specific
14   instances of hostile work environment that Danny
15   and Shannon shared with you that's the subject of
16   paragraph 14?
17          A       They were told by -- I'm relating what
18   she said.      They were told by other officers that
19   they were instructed not to back these two up.
20   Also Shannon had told me that one of the
21   supervisors told her, you know, "Why don't you
22   leave or quit?         Because I don't want to have to
23   call your daughter and tell her that her mother

24   is not coming home."


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 1                  Another aspect of the safety, this
 2   Ronald Watts, as I said before, was suspected of
 3   assisting a gang and having a police officer
 4   killed, and they were worried that somebody could
 5   hurt them, shoot them, or hurt their families or
 6   do other things in reference to this.
 7          Q       And so that's an example of hostile
 8   work environment and extreme retaliation?
 9          A       Sure.     If I can expound a little?
10          Q       Sure.
11          A       There was a case years ago where a
12   policewoman, her name was Cynthia White, reported
13   corruption in the Second District, and the police
14   department and the FBI were involved in this.
15   And she then came to work in the internal affairs
16   division.      And between the city and the FBI, they
17   were worried she would be hurt by these officers
18   that she sent to jail, and they moved her out of
19   the city, which is directly against the rules and
20   regulations and the law.             You have to reside in
21   the city to be a policeman.              They were so
22   concerned for her safety, they moved her out of
23   the city.

24                  And so when this came up, this girl's


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 1   name popped right in my head because I worked
 2   with her.      I know her quite well.            And this was a
 3   situation where she -- you know, they could -- if
 4   these people wanted to hurt them, they could hurt
 5   them.
 6          Q       During your conversation with Shannon
 7   and Danny, did they bring up to you anything
 8   about the Cynthia White situation?
 9          A       No.     They didn't know about it.
10          Q       That's something you knew about?
11          A       Right.
12          Q       As it relates to things they were
13   talking to you about, any other specific examples
14   that they gave you as it relates to the subject
15   of paragraph 14, the hostile work environment,
16   that relates to their case or the alleged lack of
17   backup?
18          A       No.     Just what they were told and what
19   other officers had told them and what a specific
20   supervisor told them, you know, told Shannon that
21   "I don't want to tell your daughter that you're
22   not coming home."
23          Q       Do you remember the name of that

24   supervisor?


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 1          A       I have no idea what his name is.
 2          Q       And as it relates to backup, is it
 3   your testimony that they told you there were
 4   officers who would not back them up?
 5          A       Yes.
 6          Q       And did they give you names of
 7   specific officers that would not back them up?
 8          A       Again, as a supervisor, we had a
 9   policeman that was a strange guy in the district
10   that I supervised, and somebody said at a
11   rollcall when this guy wasn't present that if he
12   ever called for help, we weren't going to back
13   him up.      And I said at that rollcall that I was
14   conducting, "If that ever happens and I see
15   nobody going or I see you going the other way, I
16   will suspend you.          I don't care how bad the guy
17   is, he deserves to be -- he's doing a job, he's
18   wearing a badge, you better back him up."
19          Q       I understand.         I agree.      Officers need
20   to be backed up.         I'm asking you did Danny or
21   Shannon tell you of specific people who said they
22   failed to back them up or said they would not
23   back them up?

24          A       No.     They told me the name of the


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 1   sergeant that told them.             I don't recall what it
 2   is.    I can't remember which sergeant.
 3          Q       And did they ever tell you they were
 4   in any situation, specific circumstances where
 5   they had called for backup, and no one backed
 6   them up?
 7          A       No.
 8          Q       So am I correct that this was
 9   something that they, I guess, had a fear of, but
10   it's not something that actually happened; they
11   never called for backup and were not backed up?
12          MR. SMITH:       Objection, foundation.
13   BY MS. DAVIS:
14          Q       Is that right?         You can answer.
15          A       My answer to that would be if somebody
16   of a supervisory capacity told me that, then I
17   would be worried for my safety.               Because that
18   supervisor in a specialized unit controls what
19   his officers do and controls their job
20   assignments, their money, their cars.                  And so
21   they would be reluctant to disobey him and out of
22   sheer stupidity might not go to back them up.
23          Q       But Danny and Shannon never told you

24   about instances where they called for backup and


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 1   no one came?
 2          A       No.
 3          Q       At the end of 14 where it says:
 4   "Danny and Shannon turned to me for advice,
 5   informing that they had on multiple occasions
 6   spoken directly with chief of IAD, Juan Rivera,
 7   and had requested CR investigations be initiated
 8   on their behalf with negative results."                   That too
 9   is information that Danny and Shannon told you;
10   isn't that right?
11          A       That and Lieutenant Murphy.
12          Q       So Danny and Shannon and you're saying
13   Lieutenant Murphy also told you this information?
14          A       Murphy said they wouldn't get -- that
15   they couldn't get a CR number where they were
16   assigned, so they came to her.
17          Q       Understood.        So it's your testimony
18   here that also Karyn Murphy told you that Shannon
19   and Danny could not get a CR investigation where
20   they were assigned.           Is that right?
21          A       Could I explain a little bit?
22          Q       First I want you to answer my question
23   to make sure I'm clear.            So Shannon and Danny

24   told you they could not get a CR investigation


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 1   initiated on their behalf, right?
 2          A       Right.
 3          Q       And then Karyn Murphy, did she also
 4   tell you that in her own knowledge she knew that
 5   they could not get a CR investigation?
 6          A       What she said is their lieutenant
 7   would not get a CR number.             They went to her.
 8   Realistically she should have got a CR number.
 9   But she gave them the direction, you know, A, go
10   to Rivera and then call him, meaning me.                   So one
11   or both of them went to Rivera.               And Rivera
12   should have assigned a CR number right away.                     And
13   you have to understand something, what we call a
14   CR number now, they had a different number --
15   they have a different name for it recently in the
16   IAD.    There's a number given, and then they find
17   out whether it's warrants a complaint
18   investigation or it doesn't.              So they give it a
19   number.
20                  Now, in these days, it was a CR
21   number.      And then they -- one of them went to
22   Rivera.      And Rivera said Shannon -- that's who --
23   Shannon went to Rivera.            Rivera said that Tony

24   had to come in to get a CR number for something,


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 1   and, in fact, was a violation of the rules
 2   because his job was to get the CR number,
 3   interview the complainant, take a report from the
 4   complainant, and then go out and interview the
 5   victim, which would have been Tony, I guess, in
 6   one of these cases.           And then a CR number would
 7   be investigated along the channels.
 8          Q       I understand.         But I guess maybe I'm
 9   not being clear on the one specific fine point
10   I'm going to put on this.             What I'm really trying
11   to understand is whether Karyn Murphy told you
12   that she knew for a fact from her own firsthand
13   knowledge that they couldn't get a CR initiated
14   or whether she told you that was her
15   understanding from them?
16          A       That was her own knowledge that
17   that -- their supervisor would not get a CR
18   number.
19          Q       Okay.     Gotcha.      That's my question.
20                  Anybody else besides Karyn Murphy,
21   Shannon, and Danny ever talk to you about Shannon
22   and Danny not being able to get a CR
23   investigation initiated?

24          A       No.


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 1          Q       Okay.     I'm going to move to
 2   paragraph 17 because I think we've really talked
 3   about what's in paragraph 15 and 16.
 4                  Paragraph 17.         "After Shannon and
 5   Danny informed me they had been removed from
 6   their detail of 543, I had a conversation with
 7   Deputy Superintendant Beatrice Cuello inquiring
 8   why either of these officers would be removed
 9   from their assignment."            Let me stop right there
10   for a second.
11                  So Shannon and Danny told you that
12   they were removed from the detail of 543; is that
13   right?
14          A       Yes.
15          Q       Did they tell you why it was that they
16   were removed from that detail?
17          A       Yes.
18          Q       What did they tell you?
19          A       That they had uncovered during the
20   course of the investigation in the federal
21   building they were looking at files, and they
22   recognized some of the people being investigated
23   to be Chicago police officers.               They then went

24   and informed their supervisor that police


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 1   officers were involved, which they are required
 2   to do.     At that point, they were taken off the
 3   federal -- the FBI task force and sent back to
 4   narcotics.       But somehow during the course of all
 5   this, somebody -- from what I understand, it was
 6   Rivera -- had told the commander of narcotics and
 7   the chief of organized crime that there was
 8   officers involved in possible corruption and
 9   outed Danny and Shannon as the ones that
10   discovered it, when, in fact, the FBI had
11   discovered it, and they only happened upon it
12   when they were working on a side-by-side case.
13          Q       So it's your testimony or it's your
14   understanding that it was Rivera who allegedly
15   outed Danny and Shannon as it relates to their
16   involvement in the investigation?
17          A       Yes.     He outed them to Roti and
18   O'Grady, and O'Grady outed them to everybody
19   else.
20          Q       The conversation you had with Deputy
21   Superintendent Beatrice Cuello, we've talked
22   about that?
23          A       Right.

24          Q       Is there anything else that you and


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 1   she talked about that we haven't already talked
 2   about?
 3          A       No.
 4          Q       Where exactly did that conversation
 5   happen?      Was it on the phone?
 6          A       On the phone to her office.
 7          Q       Was anybody else around when you had
 8   that conversation?
 9          A       No.     She wasn't there, and she called
10   me back, and I don't know where she called me
11   back from.
12          Q       But nobody was in the room with you
13   when you were having that conversation?
14          A       No.
15          Q       You stated before, and it says here,
16   that during the conversation, Cuello stated to me
17   that both officers were good officers and Cuello
18   never had experienced any problem with them.
19   Besides what's here and any of the other things
20   that we talked about, did you have any other
21   conversations with Beatrice Cuello?
22          A       No.
23          Q       I just want to make sure this is clear

24   for the record.         At the bottom of 17, it says:


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 1   "However, during a meeting which included
 2   Department Chief James Jackson, Commander James
 3   O'Grady, and chief Nicholas Roti, James O'Grady
 4   and Nicholas Roti stated they refused either
 5   officer to return to their units of assignment
 6   within 189 due to the fact that Danny and Shannon
 7   were IAD rats."
 8                  What I want to make sure is clear,
 9   that statement, that information was information
10   that Cuello told you that Shannon and Danny told
11   her; is that right?
12          A       Shannon and Danny wouldn't have talked
13   to Beatrice.
14          Q       Then I got that wrong?
15          A       I don't think.
16          Q       So let me turn your attention to
17   paragraph 17.        I just want to make sure that that
18   last statement that starts with "However," that
19   whole statement, I just want to make sure that
20   that statement is a statement that was told to
21   you, I guess, by Danny and Shannon.
22          A       No, no.
23          Q       That's not something that you

24   specifically had firsthand knowledge of?


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 1          A       No.     Cuello, after she looked into the
 2   fact of what was going on with Danny and
 3   Beatrice, said that they weren't going to be
 4   allowed to go back to -- O'Grady didn't want them
 5   back because they were IAD rats.
 6          Q       The point I want to clarify is the
 7   part that says "during a meeting, which included"
 8   these people's names --
 9          A       Yeah.     That's who Cuello said who was
10   at this meeting.
11          Q       At that meeting, and she was at that
12   meeting too?
13          A       Beatrice was.
14          Q       Beatrice Cuello was at that meeting?
15          A       Yeah.
16          Q       So your testimony is that Beatrice
17   Cuello was at the meeting where Deputy Chief
18   James Jackson, Commander James O'Grady, Chief
19   Nicholas Roti, and James O'Grady were there, and
20   this statement was made that Shannon and Danny
21   could not go back to narcotics because they were
22   IAD rats?
23          A       Yes.     But I don't know that meeting

24   was just for that or it was just a regular


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 1   meeting.      And she said, hey, what about these two
 2   policemen?       And that's when the conversation came
 3   up, no, that they can't go back there.
 4          Q       I got it.       There could have been other
 5   things discussed?
 6          A       Right.
 7          Q       But Beatrice Cuello said specifically
 8   that was said at that meeting?
 9          A       Yes.
10          Q       And she was there?
11          A       Yes.
12          Q       And she heard it?
13          A       Yes.
14          Q       All right.       Lastly -- we're almost
15   done.      Paragraph 18.       I'm going to read this so
16   we're on the same page, paragraph 18.                  "While
17   visiting an acquaintance of mine, Lieutenant Paul
18   Kusinsky, assigned to the tactical team in the
19   24th District, the conversation came up that
20   Lieutenant Cesario and Lieutenant Kusinsky
21   recently had a conversation during which
22   Lieutenant Cesario stated something to the effect
23   of, and I quote, 'I cannot believe they middled

24   me into fucking with them, and now I'm involved


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 1   in this federal lawsuit, end quote.'
 2                  "He further stated, quote, 'Look at
 3   this shit.       All because I fucked with Shannon and
 4   Danny because O'Grady and Salemme told me to,'"
 5   end quote.       That's a mouthful.
 6          A       Yes.
 7          Q       So let's break that down a bit.
 8                  So Paul Kusinsky, he's a friend of
 9   yours?
10          A       No.
11          Q       I should say an acquaintance of yours?
12          A       I know him.        He was a tact lieutenant
13   in 24.     And I was there visiting my old bosses
14   and BS'ing, and conversation came up, and this
15   thing came up.         And I told him that I had met
16   these people.        And I don't know how it came up.
17   And he basically said, "I know this guy, and he
18   said that he got middled by O'Grady."
19          Q       And what exactly does it mean to be
20   middled?
21          A       An example would be O'Grady would say
22   something to Cesario to do.              You know, I want you
23   to take this car and drive it to Gary, Indiana.

24   And then he gets caught driving the city car in


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 1   Gary, Indiana, and Cesario says, "Well, O'Grady
 2   told me to do it."          And O'Grady says, "No, I
 3   didn't."      That's being middled.           That's being put
 4   in the middled.
 5          Q       Understood.        Thank you for that.          That
 6   makes it clear.
 7                  And so in the statement in
 8   paragraph 18, it's your testimony that Kusinsky
 9   told you that Cesario made that statement, the "I
10   can't believe they middled me" --
11          A       Words to that effect, yes.
12          Q       That statement?
13          A       Yes.
14          Q       So Kusinsky told you that Cesario told
15   him that statement?
16          A       Yes.
17          Q       And how is it that the conversation
18   came about that Cesario's name or this statement
19   ever even came up in the conversation?
20          A       Because Hernandez used to work at 24.
21   The Sergeant Padar worked in 24.                He worked in
22   24.    We were talking about -- there was some
23   other incident, some other corruption incident

24   came up, and we were all sitting there talking.


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 1   And I said, yeah.          And I'm telling them about
 2   these two kids that are getting screwed over
 3   because of a federal -- an FBI stole some money
 4   and screwed up their whole case.                And in the
 5   course of the conversation, that came out.                    And
 6   people that I've talked to said that this Cesario
 7   is a good guy and a great boss.               And I don't know
 8   him from Adam.
 9          Q       When you had that conversation with
10   Kusinsky, was anybody else around when you and he
11   were talking?
12          A       There were people in the office, and I
13   can't remember who they were.
14          Q       Do you know if anybody else heard the
15   statement that you're saying Kusinsky told you
16   that Cesario made?
17          A       There was a group of us talking about
18   a whole bunch of things and, I mean, I couldn't
19   remember what team it was, you know.
20          Q       But it wasn't just you and Kusinsky
21   talking?
22          A       No.
23          Q       So there were other people around --

24          A       Right.


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 1           Q       -- to hear Kusinsky's statement?
 2           A       Right.
 3           Q       But you don't recall who those people
 4    are as you sit here?
 5           A       No.
 6           Q       Do you know if they were male or
 7    female, what rank they were, anything about them?
 8           A       They were mostly patrolmen, tact
 9    officers, and the tact sergeant.               And I don't
10    know which team it was, if it was my old team or
11    a different team.
12           Q       And where specifically was this
13    conversation taking place?
14           A       In the tactical offices in the 24th
15    District.
16           Q       Which is where?
17           A       Devon and Clark.
18           Q       The statement that you made here:                "He
19    further stated" -- and that's the "look at this
20    shit all because I fucked with Shannon and Danny
21    because O'Grady and Salemme told me to," that
22    part of the statement, was that made in a
23    different part of the conversation or was it sort

24    of all together?


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 1           A       It was sort of all together.
 2           Q       And at that -- and that statement, do
 3    you know if there were any particular people who
 4    heard that particular part of the statement?
 5           A       Whoever was there would have, you
 6    know -- there was a whole bunch of things talked
 7    about that day, and this was just a minor part.
 8           Q       Was there anything else about Shannon
 9    and Danny or this lawsuit or any of that that was
10    talked about during that conversation that's not
11    mentioned here in paragraph 18?
12           A       No.    Because I don't think Kusinsky
13    knows any of those people.
14           Q       You don't think Kusinsky knows Shannon
15    Spalding or Danny Echeverria?
16           A       No, I don't think so.
17           Q       But he knows Cesario?
18           A       Right.     I'm assuming he knows him.
19           Q       And his statements to you were what he
20    said Cesario said to him; is that right?
21           A       Right.
22           Q       And you don't have any firsthand
23    knowledge about whether Cesario said any of those

24    things or not, do you?


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 1           A       No.
 2           Q       What's your relationship with Kusinsky
 3    now?
 4           A       I haven't seen him.          He got promoted.
 5    I think he's a commander now.              I haven't seen him
 6    in a while.
 7           Q       If he were to say that these
 8    statements were not true, would you be saying
 9    that he was lying?
10           MR. SMITH:      I'm just going to object to the
11    form of the question as it relates to what he
12    said to Mr. Koconis directly.              Or are you asking
13    what --
14           MS. DAVIS:      I can clear it up.
15           MR. SMITH:      -- he said to him?
16           MS. DAVIS:      That's no problem.
17    BY MS. DAVIS:
18           Q       If Mr. Kusinsky said that he never
19    talked to you and he never said any statements
20    like this, would that be true?
21           A       He might not recall it.            I don't think
22    he would purposefully lie.
23           Q       But if he says that he did not make

24    these statements, then --


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 1           A       That's his recollection.            If I didn't
 2    have this right in front of me, I wouldn't
 3    remember this either.
 4           MS. DAVIS:      Give me two seconds.           I think
 5    that's all the questions that I have.                 Unless do
 6    you have questions that you're going to be
 7    asking?
 8           MR. SMITH:      Not at this point.
 9           MS. DAVIS:      Okay.     Just give me two seconds.
10               (Recess from 4:16 p.m. to 4:18 p.m.)
11    BY MS. DAVIS:
12           Q       I only have two questions, and it's
13    related to the last paragraph, paragraph 18.                    And
14    it's already been read into the record.
15                   The last statement where it says,
16    "Look at all this shit all because I fucked with
17    Shannon and Danny because O'Grady and Salemme
18    told me to," was there any other conversation
19    about Salemme during this conversation?
20           A       No.
21           Q       Do you know Joe Salemme?
22           A       No idea who he is.
23           Q       Do you know whether Kusinsky knows

24    O'Grady or Salemme?


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 1           A       Nope.
 2           Q       And I just want to make sure I'm
 3    clear.     If Kusinsky says that these statements
 4    are absolutely false, do you still stand by this
 5    statement in paragraph 18?
 6           MR. SMITH:      Again, I'm just going to object
 7    to the form.       Are you asking in terms of what
 8    Kusinsky said to Mr. Koconis or are you --
 9           MS. DAVIS:      Exactly.
10           MR. SMITH:      -- asking about what was said to
11    Mr. Kusinsky?
12    BY MS. DAVIS:
13           Q       I'm asking if Mr. Kusinsky reads this
14    and says, "I never said these things to Pete
15    Koconis," do you still stand by this
16    paragraph 18?
17           A       Yeah.     It was said.       Maybe not that
18    specific exact words the way it's down, but it
19    was the generalization it says.
20           MS. DAVIS:      Okay.     No further questions.
21           MR. SMITH:      No questions.
22           MS. DAVIS:      So we are done.
23           MR. SMITH:      Did they go over waiver of

24    signature?


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 1           MS. DAVIS:      Did they?
 2           THE WITNESS:       I'll waive my signature.
 3           MS. DAVIS:      Then you already know.
 4                   (Deposition concluded at 4:20 p.m.)
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            Deposition of Peter Koconis - September 21, 2015


 1      UNITED STATES OF AMERICA                    )
        NORTHERN DISTRICT OF ILLINOIS               )
 2      EASTERN DIVISION                            )   SS:
        STATE OF ILLINOIS                           )
 3      COUNTY OF COOK                              )
 4             I, Loretta A. Tyska, Certified Shorthand
 5    Reporter and Registered Professional Reporter, do
 6    hereby certify that PETER KOCONIS was first duly
 7    sworn by me to testify to the whole truth and
 8    that the above deposition was reported
 9    stenographically by me and reduced to typewriting
10    under my personal direction.
11             I further certify that the said deposition
12    was taken at the time and place specified and
13    that the taking of said deposition commenced on
14    September 21, 2015, at 1:30 p.m.
15             I further certify that I am not a relative
16    or employee or attorney or counsel of any of the
17    parties, nor a relative or employee of such
18    attorney or counsel, nor financially interested
19    directly or indirectly in this action.
20                           Witness my official signature on
21    this day, February 19, 2016.
22
23
                             _______________________________
24                           LORETTA A. TYSKA, CSR, RPR, CLR


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